                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 19-9254-GW-MRWx                                            Date      November 13, 2019
 Title             Chad T. Grimm v. Alliant Capital Management, LLC




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                            None Present
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         None Present                                          None Present
 PROCEEDINGS:                 IN CHAMBERS - ORDER TO SHOW CAUSE RE SETTLEMENT


On November 8, 2019, Plaintiff Chad T. Grimm filed a Notice of Settlement. The Court sets an order to
show cause re settlement hearing for January 16, 2020 at 8:30 a.m. The parties are advised the hearing
will be vacated, and no appearance will be required provided a dismissal is filed by noon on January 15,
2020.




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                                                               Initials of Preparer   JG
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